                Case 2:15-cr-00118-WFN                     ECF No. 151               filed 11/24/21         PageID.1059 Page 1 of 7
                                                                                                                                        FILED IN THE
  2$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH                                                                            U.S. DISTRICT COURT
                 6KHHW5HYLVHGE\:$('                                                                           EASTERN DISTRICT OF WASHINGTON



                                                                                                                               Nov 24, 2021
                                               81,7('67$7(6',675,&7&2857                                                        SEAN F. MCAVOY, CLERK

                                                 (DVWHUQ'LVWULFW RI :DVKLQJWRQ
            81,7('67$7(62)$0(5,&$                                           AMENDED JUDGMENT IN A CRIMINAL CASE
                       V.
               TERRENCE ANTHONY KINARD                                        &DVH1XPEHU           2:15-CR-00118-WFN-1

                                                                              8601XPEHU            07243-085

                                                                                     * J. Houston Goddard
                                                                              'HIHQGDQW¶V$WWRUQH\
Date of Original Judgment                      02/13/2017




  THE DEFENDANT

  ✔SOHDGHGJXLOW\WRFRXQW V
  G                                     1, 2 and 3 of the Indictment
  G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
  G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

  7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

  Title & Section                             Nature of Offense                                                                       Offense Ended Count
 21 U.S.C. §§ 841(a)(1),               Conspiracy to Distribute 5 Grams or More of Pure (Actual) Methamphetamine                         11/04/15    1
      (b)(1)(B)(viii) and 846
 21 U.S.C. § 841(a)(1),                Distribution of a Mixture or Substance Containing a Detectable Amount of Heroin                     11/04/15        2-3
       (b)(1)(C)

         7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                       7        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
  WKH6HQWHQFLQJ5HIRUP$FWRI
  G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
  ✔&RXQW V
  G              4 and 5 of the Indictment                           G LV      ✔
                                                                               G     DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV

           ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
  RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
  WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                2/9/2017
                                                              'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                              6LJQDWXUHRI-XGJH




                                                              The Hon, Wm. Fremming Nielsen                  Senior Judge, U.S. District Court
                                                              1DPHDQG7LWOHRI-XGJH
                                                              


                                                                11/24/2021
                                                              'DWH
                                                              
             Case 2:15-cr-00118-WFN                    ECF No. 151              filed 11/24/21     PageID.1060 Page 2 of 7
$2%    5HY -XGJPHQWLQ&ULPLQDO&DVH
           6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI    7
'()(1'$17   TERRENCE ANTHONY KINARD
&$6(180%(5 2:15-CR-00118-WFN-1


                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI         * Time Served

       As to Counts 1, 2 and 3.




   ✔
   G   7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV

       That the Defendant be allowed to participate in the 500 hour residential drug treatment program as well as be designated to the
 Sheridan, Oregon facility.


   ✔
   G   7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

   G   7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW

       G     DW                                      G DP     G    SP        RQ                                            

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G   7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV

       G     EHIRUHSPRQ                                               

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                      81,7('67$7(60$56+$/


                                                                            %\
                                                                                                   '(387<81,7('67$7(60$56+$/
              Case 2:15-cr-00118-WFN                 ECF No. 151         filed 11/24/21        PageID.1061 Page 3 of 7
$2% 5HY   -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                        -XGJPHQW²3DJH     3    RI        7
'()(1'$17 TERRENCE ANTHONY KINARD
&$6(180%(5 2:15-CR-00118-WFN-1
                                                      SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQW\RXZLOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI            4 Years
     On Count 1 and 3 Years each on Counts 2 and 3, all to run CONCURRENT to one another.



                                                     MANDATORY CONDITIONS
   <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
   <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ
   <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
     LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
            G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW VGHWHUPLQDWLRQWKDW\RX
               SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH(check if applicable)
    ✔
      G <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
     G <RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq DV
           GLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFK\RXUHVLGHZRUN
           DUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
     G   <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)

<RXPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\RWKHUFRQGLWLRQVRQWKHDWWDFKHG
SDJH
             Case 2:15-cr-00118-WFN                     ECF No. 151      filed 11/24/21        PageID.1062 Page 4 of 7
$2% 5HY    -XGJPHQWLQD&ULPLQDO&DVH
                        6KHHW$²6XSHUYLVHG5HOHDVH
                                                                                               -XGJPHQW²3DJH        4         RI        7
'()(1'$17   TERRENCE ANTHONY KINARD
&$6(180%(5 2:15-CR-00118-WFN-1

                                        STANDARD CONDITIONS OF SUPERVISION
$VSDUWRI\RXUVXSHUYLVHGUHOHDVH\RXPXVWFRPSO\ZLWKWKHIROORZLQJVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQ7KHVHFRQGLWLRQVDUHLPSRVHG
EHFDXVHWKH\HVWDEOLVKWKHEDVLFH[SHFWDWLRQVIRU\RXUEHKDYLRUZKLOHRQVXSHUYLVLRQDQGLGHQWLI\WKHPLQLPXPWRROVQHHGHGE\SUREDWLRQ
RIILFHUVWRNHHSLQIRUPHGUHSRUWWRWKHFRXUWDERXWDQGEULQJDERXWLPSURYHPHQWVLQ\RXUFRQGXFWDQGFRQGLWLRQ

    <RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKLQKRXUVRI\RXU
      UHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHULQVWUXFWV\RXWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFHRUZLWKLQDGLIIHUHQWWLPH
      IUDPH
    $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQG
      ZKHQ\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
    <RXPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJSHUPLVVLRQIURPWKH
      FRXUWRUWKHSUREDWLRQRIILFHU
    <RXPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\\RXUSUREDWLRQRIILFHU
    <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH\RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJ
      DUUDQJHPHQWV VXFKDVWKHSHRSOH\RXOLYHZLWK \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJ
      WKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQ
      KRXUVRIEHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWDQ\WLPHDW\RXUKRPHRUHOVHZKHUHDQG\RXPXVWSHUPLWWKHSUREDWLRQRIILFHUWR
      WDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRI\RXUVXSHUYLVLRQWKDWKHRUVKHREVHUYHVLQSODLQYLHZ
    <RXPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURP
      GRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW\RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV
      \RXIURPGRLQJVR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUN VXFKDV\RXUSRVLWLRQRU\RXUMRE
      UHVSRQVLELOLWLHV \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHUDWOHDVW
      GD\VLQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRI
      EHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQH\RXNQRZLVHQJDJHGLQFULPLQDODFWLYLW\,I\RXNQRZVRPHRQHKDVEHHQ
      FRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKH
      SUREDWLRQRIILFHU
    ,I\RXDUHDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV
   <RXPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ LHDQ\WKLQJWKDWZDV
      GHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQVXFKDVQXQFKDNXVRUWDVHUV 
   <RXPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRULQIRUPDQWZLWKRXW
      ILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW
   ,IWKLVMXGJPHQWLPSRVHVUHVWLWXWLRQDILQHRUVSHFLDODVVHVVPHQWLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDW\RXSD\LQDFFRUGDQFH
      ZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW<RXVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\PDWHULDOFKDQJHLQ\RXUHFRQRPLF
      FLUFXPVWDQFHVWKDWPLJKWDIIHFW\RXUDELOLW\WRSD\DQ\XQSDLGDPRXQWRIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV
   <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ



U.S. Probation Office Use Only
$86SUREDWLRQRIILFHUKDVLQVWUXFWHGPHRQWKHFRQGLWLRQVVSHFLILHGE\WKHFRXUWDQGKDVSURYLGHGPHZLWKDZULWWHQFRS\RIWKLV
MXGJPHQWFRQWDLQLQJWKHVHFRQGLWLRQV)RUIXUWKHULQIRUPDWLRQUHJDUGLQJWKHVHFRQGLWLRQVVHHOverview of Probation and Supervised
Release ConditionsDYDLODEOHDWZZZXVFRXUWVJRY


'HIHQGDQW V6LJQDWXUH                                                                                    'DWH
           Case 2:15-cr-00118-WFN                      ECF No. 151      filed 11/24/21        PageID.1063 Page 5 of 7
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                      -XGJPHQW²3DJH      5      RI       7
'()(1'$17   TERRENCE ANTHONY KINARD
&$6(180%(5 2:15-CR-00118-WFN-1

                                         SPECIAL CONDITIONS OF SUPERVISION

 1. You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. You shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal
 disclosure between the supervising officer and treatment provider.

 2. You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as directed by
 the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 3. You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must abstain from alcohol and
 must submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more than 6 tests per month, in order to
 confirm continued abstinence from this substance.

 4. You shall submit your person, residence, office, vehicle and belongings to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. You shall warn persons with whom he/she shares a residence that the premises may be
 subject to search.
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$2% 5HY  -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                             -XGJPHQW²3DJH       6    RI        7
 '()(1'$17 TERRENCE ANTHONY KINARD
 &$6(180%(5 2:15-CR-00118-WFN-1
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                  JVTA Assessment*                     Fine                        Restitution
 TOTALS             $        $300.00            $         $0.00                      $          $0.00            $
                                                                                                                               $0.00


 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                     .$QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

     Name of Payee                                                             Total Loss**             Restitution Ordered      Priority or Percentage




                                                                  0.00                                       0.00
 TOTALS                              $                                           $


 G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

 G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUH WKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

 G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRU WKH           G ILQH         G UHVWLWXWLRQ
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH        G      UHVWLWXWLRQLVPRGLILHGDVIROORZV

   -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
    )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRU
 DIWHU6HSWHPEHUEXWEHIRUH$SULO
$2%     Case 2:15-cr-00118-WFN
            5HY -XGJPHQWLQD&ULPLQDO&DVH   ECF No. 151          filed 11/24/21       PageID.1065 Page 7 of 7
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH      7     RI       7
'()(1'$17   TERRENCE ANTHONY KINARD
&$6(180%(5 2:15-CR-00118-WFN-1

                                                       SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A     G    /XPSVXPSD\PHQWRI                           GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                  RU
           G     LQDFFRUGDQFH          G    &    G    '   G     (RU    G     )EHORZRU

B     ✔
      G    3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK             G &       G 'RU    ✔)EHORZ RU
                                                                                                 G
C     G    3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D     G    3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E     G    3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F     ✔
      G    6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV

      Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
      penalties are payable on a quarterly basis of not less than $25.00 per quarter.

      While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
      Defendant's net household income, whichever is larger, commencing 30 days after the Defendant is released from imprisonment.


 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
 GXULQJWKHSHURLGRILPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶
 ,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW
 &RXUW$WWHQWLRQ)LQDQFH32%R[6SRNDQH:$

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

G     -RLQWDQG6HYHUDO

      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G     7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G     7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G     7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  -97$DVVHVVPHQW  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQG
FRXUWFRVWV
